Case 1:17-cv-22957-RNS Document 50 Entered on FLSD Docket 10/10/2018 Page 1 of 4



                            United States District Court
                                      for the
                            Southern District of Florida

  George Harrison, Plaintiff,           )
                                        )
  v.                                    )
                                          Civil Action No. 17-22957-Civ-Scola
                                        )
  The United States of America,         )
  Defendant.

                 Order Granting Motion for Summary Judgment
        Before the Court is the Defendant’s motion for summary judgment. (the
  “Motion,” ECF No. 45.) The Plaintiff George Harrison (“Harrison”) failed to
  respond to the Motion, or otherwise oppose the relief requested through it.
  Thus, after reviewing the Defendant’s submission and the relevant law, the
  Court grants the Motion and enters judgment for the Defendant.

  1. Background

        Harrison received surgery on his left shoulder at the Miami Veterans
  Medical Center (“VMC”) in February and April, 2013. (ECF Nos. 1, 14 at ¶¶ 7,
  10.) The surgeon for these procedures was an employee of the University of
  Miami (“UM”) who operated at the VMC as a contractor under an agreement
  between UM and the Miami VA Healthcare System (“VA”). (Statement of
  Material Facts (“SMF”), ECF No. 44 at ¶¶ 1-4.) That agreement provided that
  “the parties agree that the contractor, its employees, agents and
  subcontractors shall not be considered VA employees for any purpose.” (Id. at ¶
  5.) The contract further stated that:

        [T]he professional services rendered by the Contractor or its
        healthcare providers are rendered in its capacity as an
        independent contractor. The Government may evaluate the quality
        of professional and administrative services provided but retains no
        control over professional aspects of the services rendered,
        including by example, the Contractor’s or its health-care providers’
        professional medical judgment, diagnosis or specific medical
        treatments. The Contractor and its health-care providers shall be
        liable for their liability-producing acts or omissions.
  (Id. at ¶ 6.)
          The Plaintiff claims he suffered permanent nerve damage as a result of
  these surgeries and asserts a single count for medical malpractice against the
Case 1:17-cv-22957-RNS Document 50 Entered on FLSD Docket 10/10/2018 Page 2 of 4



  Defendant. (Id. at ¶ 26; ECF No. 1.) The sole jurisdictional basis for that claim
  is the Federal Tort Claims Act (“FTCA”). 28 U.S.C. §§ 2671 et seq.; 28 U.S.C.
  §1346(b); (ECF No. 1 at ¶ 1.)
         The Defendant requests summary judgment in its favor, arguing that: (i)
  the Court lacks jurisdiction under the FTCA because Harrison’s treating
  physician was an employee of UM and not the United States government; and
  (ii) Harrison fails to present the necessary expert evidence to establish elements
  of his medical malpractice claim.

  2. Summary Judgment Standard
         “Summary judgment is appropriate where the pleadings, affidavits,
  depositions, admissions, and the like show that there is no genuine dispute as
  to any material fact and the movant is entitled to judgment as a matter of law.”
  Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039, 1050 (11th Cir. 2015)
  (punctuation & citation omitted). “[T]o survive summary judgment, the
  nonmoving party must . . . make a showing sufficient to permit the jury to
  reasonably find on its behalf.” Id.
         Further, “[i]f a party fails to properly support an assertion of fact or fails
  to properly address another party’s assertion of fact as required by Rule 56(c),
  the court may . . . consider the fact undisputed for purposes of the motion” and
  “grant summary judgment if the motion and supporting materials—including
  the facts considered undisputed—show that the movant is entitled to it.” Fed.
  R. Civ. P. 56(e).

  3. The Court Lacks Jurisdiction
        The Defendant argues that no jurisdiction exists under the FTCA
  because Harrison’s treating surgeon was an employee of UM and not the
  Defendant. (ECF No. 45 at 2-8.)
        “It is well settled that the United States, as a sovereign entity, is immune
  from suit unless it consents to be sued.” Zelaya v. United States, 781 F.3d
  1315, 1321 (11th Cir. 2015). Through the FTCA, “the federal government has,
  as a general matter, waived its immunity from tort suits based on state law tort
  claims.” Id. However, courts must “strictly observe the limitations and
  conditions” of this waiver and where “there is no specific waiver of sovereign
  immunity as to a particular claim filed against the Government, the court lacks
  subject matter jurisdiction over the suit.” Id.
        One such waiver appears in section 1346(b), which provides original
  jurisdiction in federal courts over “claims against the United States, for money
  damages” for “personal injury or death caused by the negligent or wrongful act
Case 1:17-cv-22957-RNS Document 50 Entered on FLSD Docket 10/10/2018 Page 3 of 4



  or omission of any employee of the Government while acting within the scope of
  his office or employment.”
         “The FTCA defines an ‘employee of the government’ to include ‘officers or
  employees of any federal agency and persons acting on behalf of a federal
  agency in an official capacity.’ Whether an individual is an employee of the
  United States for the purposes of the FTCA is determined by federal law.”
  Means v. United States, 176 F.3d 1376, 1379 (11th Cir. 1999) (alterations
  omitted; quoting 28 U.S.C. § 2671). Federal courts employ the “control test” in
  making this determination. Id. “Under th[at] test, a person is not an ‘employee
  of the government’ for FTCA purposes unless the government controls and
  supervises the day-to-day activities of the individual.” Id. (citing Logue v. United
  States, 412 U.S. 521, 526-32 (1973); United States v. Orleans, 425 U.S. 807,
  815 (1976)). Further, “[c]ontractor[s] with the United States” are explicitly
  excluded from the definition of “federal agency” under sections 1346(b) and
  2401(b). 28 U.S.C. § 2671.
         Harrison’s treating physician was an independent contractor and not an
  “employee of the Government” for the purposes of section 1346. For one, UM
  employed the treating physician—not the United States. (SMF at ¶ 1.) Further,
  the agreement between UM and the VA clearly and unequivocally states that
  “the parties agree that the contractor, its employees, agents and
  subcontractors shall not be considered VA employees for any purpose"; that
  the Defendant retained “no control over professional aspects of the services
  rendered”; and that “[t]he Contractor and its health-care providers shall be
  liable for their liability-producing acts or omissions.” (Id. at ¶¶ 5, 6.) Harrison
  does not contest these facts, or otherwise argue that the conduct of the
  physician and Defendant differed in any way. Fed. R. Civ. P. 56(e)(2). The
  Eleventh Circuit held that a physician was not a federal employee in a
  materially indistinguishable case, where suit was brought against a private
  physician who performed medical services at a VA hospital under a contractor
  agreement between the United States and the physician’s private practice
  group. Dutton v. United States, 621 F. App’x 962, 965-66 (11th Cir. 2015). In
  line with this binding precedent, the Court holds that Harrison’s treating
  physician was an “independent contractor, [and] not a federal employee” under
  the FTCA. Id. As Harrison cannot sustain his claim under the FTCA and
  asserts no other basis for federal jurisdiction, the Court must dismiss his claim
  without prejudice for lack of subject matter jurisdiction. Zelaya, 781 F.3d at
  1321-23.
Case 1:17-cv-22957-RNS Document 50 Entered on FLSD Docket 10/10/2018 Page 4 of 4




     4. Conclusion

        The Defendant’s motion for summary judgment (ECF No. 45) is granted,
  and this case is dismissed without prejudice for lack of subject matter
  jurisdiction. The Clerk is directed close this case. All pending motions are
  denied as moot.
        Done and ordered, in chambers, in Miami, Florida on October 10, 2018.




                                          Robert N. Scola, Jr.
                                          United States District Judge
